                   Case 2:21-cv-00920-JLR Document 54 Filed 09/26/23 Page 1 of 2




                                                         THE HONORABLE JAMES L. ROBART
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 5
                                     UNITED STATES DISTRICT COURT
 6                                  WESTERN DISTRICT OF WASHINGTON
                                              AT SEATTLE
 7
       AUBRY MCMAHON,                                     Case No.: 2:21-cv-00920-JLR
 8
                       Plaintiff,                         PRAECIPE
 9

10            v.

11     WORLD VISION, INC.,
12                     Defendant.
13

14

15                                              PRAECIPE

16            Plaintiff Aubry McMahon now files this praecipe to correct page 19 of Plaintiff’s Renewed

17    Motion for Summary Judgment on Affirmative Defenses. Dkt. 52. At the beginning of line 15, the

18    case quotation erroneously had the phrase “religious discrimination. The correct quotation is

19    “workplace discrimination.” This correction does not affect the word count.

20
              RESPECTFULLY SUBMITTED, this 26th day of September 2023.
21

22                                          FRANK FREED SUBIT & THOMAS LLP

23                                                 By: /s/ Michael C. Subit
                                                   Michael C. Subit, WSBA No. 29189
24                                                 705 Second Avenue, Suite 1200
                                                   Seattle, Washington 98104
25                                                 Phone: (206) 682-6711
26                                                 Fax: (206) 682-0401
                                                   Email: msubit@frankfreed.com


                                                                                   FRANK FREED
     PRAECIPE - 1                                                            SUBIT & THOMAS LLP
     2:21-CV-00920-JLR                                             Suite 1200 Hoge Building, 705 Second Avenue
                                                                          Seattle, Washington 98104-1798
                                                                                   (206) 682-6711
                Case 2:21-cv-00920-JLR Document 54 Filed 09/26/23 Page 2 of 2




 1                                   NISAR LAW GROUP, P.C.
 2
                                           By: /s/ Casimir Wolnowski
 3                                         Casimir Wolnowski
                                           One Grand Central Place
 4                                         60 East 42nd Street, Suite 4600
                                           New York, New York 10165
 5
                                           Phone: (646) 889-1007
 6                                         Fax: (516) 604-0157
                                           Email : cwolnowski@nisarlaw.com
 7                                         Admitted Pro Hac Vice

 8                                         Attorneys for Plaintiff
 9

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                                                                            FRANK FREED
     PRAECIPE - 2                                                     SUBIT & THOMAS LLP
     2:21-CV-00920-JLR                                      Suite 1200 Hoge Building, 705 Second Avenue
                                                                   Seattle, Washington 98104-1798
                                                                            (206) 682-6711
